

People v Roman (2021 NY Slip Op 05300)





People v Roman


2021 NY Slip Op 05300


Decided on October 05, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 05, 2021

Before: Webber, J.P., Singh, Scarpulla, Mendez, Rodriguez, JJ. 


Ind. No. 777/17 Appeal No. 14301 Case No. 2020-03764 

[*1]The People of the State of New York, Respondent,
vEdward Roman, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Elizabeth G. Caldwell of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Robert L. Myers of counsel), for respondent.



Order, Supreme Court, Bronx County (Ralph A. Fabrizio, J.), entered on or about July 8, 2020, which adjudicated defendant a level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-c), unanimously affirmed, without costs.
The court providently exercised its discretion in declining to grant a downward departure (see generally People v Gillotti, 23 NY3d 841, 861 [2014]). Defendant's successful completion of treatment programs and vocational training while in prison was adequately taken into account by the risk assessment instrument (see People v Stuckey, 174 AD3d 454, 455 [1st Dept 2019]), and defendant did not show that his response to treatment was exceptional (see People v Santiago, 137 AD3d 762, 764 [2d Dept 2016] lv denied 27 NY3d 907 [2016]). Defendant also failed to demonstrate how his family or community support reduced his particular likelihood of reoffense or danger to the community (Stuckey, 174 AD3d at 455). In any event, the alleged mitigating factors identified by defendant were outweighed by the seriousness of the underlying crime. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 5, 2021








